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Infringement by Samsung Galaxy Nexus of U.S. Patent No. 8,086,604

Claim 6 of the ’604 Patent Infringement by the Samsung Galaxy Nexus

6. An apparatus for locating To the extent that the preamble may be construed to be limiting, the Samsung Galaxy Nexus is an
information in a network, apparatus for locating information in a network.
comprising’:

For instance, the Samsung Galaxy Nexus includes a 1.2 GHz dual-core processor CPU, 1GB of RAM,
32GB of on-board memory, a 4.65” HD (1280x720) Super AMOLED screen, LTE and WiFi and
Bluetooth radios providing the connectivity listed below and software comprising Version 4.0 of the
Android operating system, along with various pre-installed applications and therefore is an apparatus for
locating information in a network. (Ex. 4)

Processor Speed, 1.2GHz Dual-Core Processor

Internal Memory 32GB

' Apple’s inclusion of citations related to any claim preamble in this claim chart should not be interpreted as an admission that the preamble is limiting. Apple
reserves the right to take the position that the claim preambles are limiting or not limiting on a claim-by-claim basis.

9 a: 1: . . . . “as

~ References to exhibits refer to the exhibits to the declaration to which this chart is attached as an exhibit.

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Claim 6 of the ’604 Patent

Infringement by the Samsung Galaxy Nexus

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Frequencies and Data

CDMA/PCS/1xEVDO Rev. A: 800/1900 MHz,LTE: 700 MHz

Type
Data Speed LTE, EVDO Rev.A
Features Bluetooth®, Bluetooth® Profiles, A2DP, AYCTP. AVRCP. GAVDP. HFP, HSP, OPP, PAN, PBAP. SPP ; Wi-Fi® ; Wi-Fi® Hotspot, HTML Browser

(Image of the Samsung Galaxy Nexus)

The Samsung Galaxy Nexus contains the following chips used to access a network and therefore is an
apparatus for locating information in a network:

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Claim 6 of the ’604 Patent Infringement by the Samsung Galaxy Nexus

The Broadcom BCM4330 Bluetooth/WiFi/FM Radio chip show below.

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ips shown below.

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Claim 6 of the ’604 Patent Infringement by the Samsung Galaxy Nexus

The Samsung Galaxy Nexus includes the Android Quick Search Box, which is a "powerful, system-wide
search framework" that "allows users to quickly and easily find what they're looking for, both on their
devices and on the web." (Ex. 5).

As shown above (the box at the top of the screen labeled “Google”), the Quick Search Box forms part of
the default user interface available from the home screen on the Samsung Galaxy Nexus. The figure
below shows the screen when a user taps the Quick Search Bar on the home screen.

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(Screenshot of Samsung Galaxy Nexus Showing Android Quick Search Box (text field at top).)

an interface module The Samsung Galaxy Nexus comprises an interface module configured to receive an inputted information
configured to receive an descriptor from a user-input device.

inputted information
descriptor from a user-input
device;

The Samsung Galaxy Nexus has a 4.65” HD (1280x720) Super AMOLED screen, as noted above (Ex.4).

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Claim 6 of the 604 Patent

Infringement by the Samsung Galaxy Nexus

Main Display ;

Resolution 1280x720 pixels

Main Display Size 4.65° Display

canes HD Super AMOLED™ contoured display
Technology

The Super AMOLED screen, a user-input device, is a touchscreen which the user manipulates by touching
displayed objects. For instance, as shown in the figure below, the touchscreen allows the user to input an
information descriptor using an onscreen keyboard.

The Android Quick Search Box on the Samsung Galaxy Nexus is configured to receive an inputted

information descriptor from a user-input device in the text field, an interface module, shown below, where
the information descriptor "app" has been input:

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Claim 6 of the 604 Patent

Infringement by the Samsung Galaxy Nexus

(Screenshot of Samsung Galaxy Nexus Showing Android Quick Search Box after input of “app” in the
text field using the onscreen keyboard.)

Portions of the computer instructions to receive an information descriptor in the Samsung Galaxy Nexus
may be found in the QsbApplication class and in the com.android.quicksearchbox package.°

a plurality of heuristic
modules configured to search
for information that
corresponds to the received
information descriptor,
wherein:

The Samsung Galaxy Nexus comprises a plurality of heuristic modules configured to search for
information that corresponds to the received information descriptor.

As shown below, the Preferences panel for the Quick Search Box on the Samsung Galaxy Nexus, permits
the user to activate searches using a plurality of heuristic modules, including heuristic modules configured
to search for information that corresponds to the received information descriptor. The Quick Search Box
provides heuristic modules configured to search for information on Internet (e.g., Google Search
suggestions) and local storage media (e.g., downloaded Amazon Kindle books and Contacts entries).

The default heuristic modules supported by Android include (1) Google internet search suggestions and
(2) searches of local device system data for applications, books, browser bookmarks, text messages, music,
people (contacts), and videos. (Ex. 5) These heuristic modules further include modules defined by
developers of individual applications installed on the device: to use the Quick Search Box "developers will
need to make their app ‘searchable’ and provide suggestions in response to user queries." (Ex. 6).

3

The Galaxy Nexus appears to run the Android 4.0 platform. The source code for the Android 4.0 operating system and the applications available with

Android 4.0 and on the Galaxy Nexus can be found at http://source.android.com/source/downloading.html. All references to source code are to files
available from that site. The examples from the source code are indicative of the functionality of the Galaxy Nexus and are not meant to be exhaustive.

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Claim 6 of the °604 Patent

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(Screenshots of Samsung Galaxy Nexus: (Left) showing a plurality of heuristic modules configured to
search for information that corresponds to the received information descriptor and (Right) showing
Android Quick Search Box after input of a received information descriptor.)

By way of example, on the Samsung Galaxy Nexus, when a user types a search request into the Quick
Search Box, Android computer instructions in the SearchActivity class calls the getSuggestions() method
of an instance of the SuggestionsProviderlmpl class. (See Android Source Code at SearchActivity.java,
SuggestionsProviderlmpl.java.) This, in turn, creates an object called "receiver" to hold the query results
from the different applications that respond to the search request, and calls the startQueries() method on a
QueryTask object to dispatch the query to a plurality of search heuristics to locate information responsive
to the request. (See Android Source Code at SuggestionsProviderlmpl.java). The QueryTask object
creates multiple parallel requests, in separate threads, to send the query simultaneously to a plurality of
heuristics. (See Android Source Code at QueryTask.java.)

each heuristic module
corresponds to a respective

The Samsung Galaxy Nexus comprises heuristic modules wherein each heuristic module corresponds to a
respective area of search and employs a different, predetermined heuristic algorithm corresponding to said

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Claim 6 of the ’604 Patent

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area of search and employs a
different, predetermined
heuristic algorithm
corresponding to said
respective area,

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For example, the Quick Search Box provides heuristic modules to corresponding to a respective area of
search. The figure above shows a plurality of heuristic modules and their respective area of search. One
heuristic module indicated by the red rectangle is the Google heuristic module and corresponds to a search
of Google Search suggestions on the Internet. Another heuristic module indicated by the green rectangle
is the Browser heuristic module that corresponds to a search of bookmarks and web history. Another
heuristic module indicated by the blue rectangle is the People heuristic module that corresponds to a
search of the names of contacts stored locally on the Galaxy Nexus.

Each heuristic module shown above employs a different, predetermined heuristic algorithm corresponding
to the respective area of search. According to the’604 patent specification:

“Each plug-in module has an associated heuristic which it employs to locate information that
corresponds to the user input. For instance, one module 22; may search the names of files stored on
the local storage media 12 and the LAN storage volumes 8, to find those which match the user

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Claim 6 of the ’604 Patent

Infringement by the Samsung Galaxy Nexus

input. A second module 222 may index and search the contents of files on the local and/or network
storage volumes. A third module 223 can maintain a list of the files, applications and web sites
which were most recently accessed, and search this list for a match. Yet another module might
employ a search engine to locate Internet web pages which match the user input. (’604 patent, col.
4, Il. 13-23)

“(T]he selected plug-in modules 22, . . . 22x receive the information descriptor and determine
whether any information matches the criteria of respective locator heuristics associated with the
plug-in modules 22; ... 22x. The heuristic of each plug-in module is different.” (°604 Patent, col. 5
Il. 10-14)

Each heuristic module identified above employs a different, predetermined heuristic algorithm
corresponding to the respective area of search. The Google heuristic module employs a search engine to
locate Internet web pages which match the user input. The Browser module maintains a list of the files,
applications and web sites which were most recently accessed, and searches this list for a match. The
People module searches the contents of files on the local storage volumes.

Each module is configured and designed to search the specific area based on the input information
descriptor. The Android Developers Site describes how a developer can design an application that can be
included in the Quick Search Box. (See Ex. 7). An application that implements search and that should be
included in the heuristic modules available from the Quick Search Box must declare this in an XML file
called searchable.xml, which lists the name and features of the searchable app. (/d.) To make a searchable
Activity:

“A searchable activity is the Activity in your application that performs searches based on a query
string and presents the search results. When the user executes a search in the search dialog or
widget, the system starts your searchable activity and delivers it the search query in an Intent with
the ACTION SEARCH action. Your searchable activity retrieves the query from the intent's
QUERY extra, then searches your data and presents the results.” (/d.)

According to the Developers site, how the data is searched “is unique to your application.” (/d.)

and the search areas include
storage media accessible by

The Samsung Galaxy Nexus comprises heuristic modules wherein the search areas include storage media
accessible by the apparatus.

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Claim 6 of the ’604 Patent

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the apparatus;

As described above, the People heuristic module search area is a user’s contacts stored on the storage
media accessible by the Samsung Galaxy Nexus. The Quick Search Box, “suggests content on your device
as you type, like apps, contacts, browser history, and music.” (Ex. 5)

and a display module
configured to display one or
more candidate items of
information located by the
plurality of heuristic modules
on a display device.

The Samsung Galaxy Nexus comprises a display module configured to display one or more candidate
items of information located by the plurality of heuristic modules on a display device.

The Samsung Galaxy Nexus has a 4.65” HD (1280x720) Super AMOLED screen display device, as noted

above. (Ex. 4) The Quick Search Box has a display module that is configured to display one or more
candidate items of information located by the plurality of heuristic modules. As shown in the figure
below, the Quick Search Box display module is displaying the candidate items located by plurality of
heuristic modules in response to the information descriptor “app.”

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Claim 19 of the ’604 Patent

Infringement by the Samsung Galaxy Nexus

19. The apparatus of claim 6,
wherein the interface module
is configured to receive
portions of the information
descriptor as the portions are
being inputted, and wherein
the heuristic modules are
configured to search for
information that corresponds
to the portions of the
information descriptor as the
portions are being received.

The Samsung Galaxy Nexus comprises an interface module wherein the interface module is configured to
receive portions of the information descriptor as the portions are being inputted, and wherein the heuristic
modules are configured to search for information that corresponds to the portions of the information
descriptor as the portions are being received.

The Quick Search Box provides a text field where a user can input an information descriptor as discussed
above with regards to claim 6.

As portions of the information descriptor are being inputted to the Quick Search Box the heuristic

modules, which are configured to search for information that corresponds to the portions of the

information descriptor as the portions are being received, provides search results based on the portions of
the information descriptor that are being inputted. The figures below show the search results as portions of
the information descriptor “app” are being inputted.

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